      Case 1:20-cv-03938-DLC Document 48 Filed 10/29/21 Page 1 of 15



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 BONCHON LLC,

                             Plaintiff,               20cv3938 (DLC)

                 -v-                                 OPINION AND ORDER

LKRG PROVISIONS & HOLDINGS, LLC d/b/a
FRONTIER FOOD GROUP,

                             Defendant.

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APPEARANCES:

For plaintiff and counterclaim defendant Bonchon LLC:
Kevin Michael Shelley
Kaufmann Gildin & Robbins LLP
767 Third Ave, 30th Floor
New York, NY 10017

For defendant and counterclaim plaintiff LKRG Provisions &
Holdings, LLC d/b/a Frontier Food Group:
Andrew C. Lang
Steven Jay Harfenist
Harfenist Kraut & Perlstein
3000 Marcus Ave, Suite 2el
Lake Success, NY 11042

DENISE COTE, District Judge:

     Bonchon LLC ("Bonchon") and LKRG Provisions & Holdings, LLC

d/b/a Frontier Food Group ("Frontier") dispute whether an

agreement was a binding contract that obligated Bonchon to

purchase certain quantities of food products from Frontier.

Plaintiff Bonchon has moved for s�mmary judgment on its claim

for a declaratory judgment that it did not breach the agreement,
      Case 1:20-cv-03938-DLC Document 48 Filed 10/29/21 Page 2 of 15



contending that the agreement was not a binding and enforceable

contract between Bonchon and Frontier.        Defendant Frontier has

moved for summary judgment on a counterclaim for breach of

contract, premised on its assertion that the agreement was

enforceable and Bonchon breached it by failing to make purchases

as required by the agreement.      For the following reasons,

Bonchon's motion for summary judgment is granted.


                               Background

     The following facts are derived from the parties'

submissions in connection with their cross-motions for summary

judgment.   Any facts in dispute are construed in favor of

Frontier, unless otherwise noted.

     Bonchon is a national restaurant chain.        Some Bonchon

locations are owned and operated by Bonchon directly, and the

company also licenses its intellectual property to franchisees.

Frontier is a food wholesaler that manufactures products for

restaurant chains.     The purchases of food items that are sold in

Bonchon restaurants are made through three distributors (the

"Distributors n }.   The Distributors purchase food items from

producers like Frontier and then resell them to individual

Bonchon restaurants.

     In 2019, Bonchon's corporate chef, Henry Balle, met with

Frontier's co-founders and principals, Ricardo Garcia and Lauren

                                    2
Case 1:20-cv-03938-DLC Document 48 Filed 10/29/21 Page 3 of 15
        Case 1:20-cv-03938-DLC Document 48 Filed 10/29/21 Page 4 of 15



the Frontier Products for a "sales trial."          Kenworthy and Balle

signed the Supply Agreement on August 26, 2019. 1

       After Kenworthy and Balle signed the Supply Agreement,

Kenworthy completed five spreadsheets provided by Bonchon -- one

for each Frontier Product -- that contained certain additional

information about storage and shipping.          These spreadsheets

refer to an average monthly volume of cases to be shipped to the

Distributors but do not include language indicating that the

Distributors were, in fact, obligated to purchase that average

monthly volume.      Indeed, the spreadsheets contemplate a minimum

order of as few as one case at a time.

       On September 6, Bonchon instructed the Distributors to

place an initial order for the Frontier Products, and over the

course of that month, the Distributors submitted purchase orders

to purchase a total of 2,161 cases of the Frontier Products at a

total price of $151,863.80. 2       In response to these orders,

Frontier produced the quantity ordered and continued to

manufacture the Frontier Products even after the orders had been

fulfilled, manufacturing an additional 4,010 cases of the



1 The parties dispute whether Balle had actual or apparent
authority to enter contracts on behalf of Bonchon. The cross­
motions for summary judgment may be resolved without addressing
this factual dispute.

2   Frontier does not dispute that it was paid for these orders.

                                      4
        Case 1:20-cv-03938-DLC Document 48 Filed 10/29/21 Page 5 of 15



Frontier Products.      Effective September 19, Frontier made two

modifications to the Supply Agreement, reducing the estimated

annual volume of vegetable dumplings from 80,000 pounds to

40,000 pounds and the price of bulgogi from $5.85 per pound to

$5.65 per pound. 3     While Balle acknowledged the changes in an

email to Kenworthy, neither Balle nor any other representative

of Bonchon initialed or signed the modified Supply Agreement.

        Bonchon's franchisees, however, were reluctant to purchase

the Frontier Products from the Distributors and on November 20,

Bonchon informed Frontier that the Distributors would not be

purchasing additional inventory of the Frontier Products at that

time.     In an email of November 21 , Kenworthy informed Bonchon

that "[Frontier] will not produce anymore [sic]" of the Frontier

Products and that it was her understanding "Bonchon will

continue to purchase what is produced and in inventory" at the

Distributors.

        Between November 2019 and January 2020, Bonchon and

Frontier made efforts to find buyers for the unsold Frontier

Products that had already been produced but not purchased by the

Distributors.     These efforts proved largely unsuccessful, and on

January 28, 2020, Bonchon's supply chain director informed


3 While the Agreement provided that the bulgogi price could be

modified, it also provided that there would be no adjustment to
the bulgogi price before February 28, 2020.

                                      5
Case 1:20-cv-03938-DLC Document 48 Filed 10/29/21 Page 6 of 15
Case 1:20-cv-03938-DLC Document 48 Filed 10/29/21 Page 7 of 15
Case 1:20-cv-03938-DLC Document 48 Filed 10/29/21 Page 8 of 15
Case 1:20-cv-03938-DLC Document 48 Filed 10/29/21 Page 9 of 15
Case 1:20-cv-03938-DLC Document 48 Filed 10/29/21 Page 10 of 15
Case 1:20-cv-03938-DLC Document 48 Filed 10/29/21 Page 11 of 15
Case 1:20-cv-03938-DLC Document 48 Filed 10/29/21 Page 12 of 15
Case 1:20-cv-03938-DLC Document 48 Filed 10/29/21 Page 13 of 15
Case 1:20-cv-03938-DLC Document 48 Filed 10/29/21 Page 14 of 15
Case 1:20-cv-03938-DLC Document 48 Filed 10/29/21 Page 15 of 15
